              Case 3:17-cv-01387-GAG Document 28 Filed 02/07/18 Page 1 of 7



 1                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO
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 3    CELIA MARÍA LEONHARDT,

 4    Plaintiff,

 5    v.                                                    CIVIL NO. 17-1387 (GAG)

 6    AEROSTAR AIRPORT HOLDINGS
      LLC, et al.,
 7
      Defendants.
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 9                                         OPINION AND ORDER

10          Celia María Leonhardt (“Plaintiff”) sued Aerostar Airport Holdings LLC (“Aerostar”) and

11   an unnamed insurance company. (Docket No. 1). For the following reasons, the Court DISMISSES

12   this case with prejudice pursuant to Federal Rules of Civil Procedure 41(b) and 12(b)(6).

13          I. Relevant Factual and Procedural Background

14          On January 15, 2017, Plaintiff arrived at the Luis Muñoz Marin International Airport, to pick

15   up a friend. (Docket No. 14 ¶ 2). Upon her friend’s arrival, Plaintiff exited the building, carrying her

16   friend’s luggage. Id. Plaintiff then proceeded through an area outside the building that was not lit

17   adequately. Id. Due to the insufficient lighting and Plaintiff’s inability to see, the wheels of the

18   luggage became stuck, causing Plaintiff to fall. Id. In pain, Plaintiff was transported by ambulance

19   to Carolina’s Medical Hospital where she was diagnosed with a fracture to the femur and underwent

20   an emergency surgery. Id. ¶¶ 3-4.

21          Aided by a wheelchair, Plaintiff eventually traveled back to her home in Sacramento,

22   California. Id. ¶ 5. Plaintiff’s orthopedic doctor, Dr. Fernando Torres Zayas, believed Plaintiff had

23   a 60% chance of not being able to walk again. Id. In April 2017, Plaintiff underwent a second

24
              Case 3:17-cv-01387-GAG Document 28 Filed 02/07/18 Page 2 of 7
     Civil No. 17-1387 (GAG)


 1   operation to ease her pain and enable her to make a full recovery. Id. ¶ 6. As of June 26, 2017,

 2   Plaintiff could stand, but was still unable to walk. Id. A full recovery is expected. Id. Plaintiff seeks

 3   $20,000 reimbursement for her medical expenses, as well as $300,000 in compensation for

 4   emotional damages. Id. ¶ 9.

 5          Plaintiff filed her initial complaint on March 21, 2017 (Docket No. 1). Aerostar filed a motion

 6   to dismiss for failure to state a claim, and a motion for a more definite statement. (Docket No. 11).

 7   Before the Court ruled on Aerostar’s motion, Plaintiff inexplicably responded with a motion for

 8   reconsideration of dismissal. (Docket No. 12). The Court denied both motions while noting that the

 9   “complaint is not properly presented and fatally deficient under Federal Rule of Civil Procedure

10   8(a).” (Docket No. 13). The Court instructed Plaintiff to file an amended complaint and on June 27,

11   2017, Plaintiff did so. (Docket Nos. 13; 14). Aerostar thereafter filed a motion to dismiss for failure

12   to state a claim. (Docket No. 16). Plaintiff did not respond, and Aerostar moved to deem its motion

13   unopposed. (Docket No. 17). The Court denied Aerostar’s motion without prejudice and ordered

14   Plaintiff to file a response by August 10, 2017. (Docket No. 18).

15          Plaintiff again failed to respond and on August 16, 2017, Aerostar filed a second motion to

16   deem its motion to dismiss unopposed. (Docket No. 20). The Court denied Aerostar’s motion

17   without prejudice, and ordered Plaintiff to respond by August 22, 2017, noting that Plaintiff’s failure

18   to do so would result in the case being submitted. (Docket No. 21). Plaintiff again failed to respond,

19   and on August 22, 2017, Aerostar filed a third motion to deem its motion to dismiss unopposed.

20   (Docket No. 22). Plaintiff did not respond. On January 9, 2018, Aerostar moved to dismiss for lack

21   of prosecution pursuant to Federal Rule of Procedure 41(b). (Docket No. 23). The Court ordered

22   Plaintiff to respond to the pending motions on or before the final deadline of January 16, 2018.

23   (Docket No. 24). Yet again, Plaintiff ignored the Court’s order. On January 19, 2018, Aerostar filed
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                 Case 3:17-cv-01387-GAG Document 28 Filed 02/07/18 Page 3 of 7
     Civil No. 17-1387 (GAG)


 1   a motion renewing its motion to dismiss for lack of prosecution. (Docket No. 25). The Court denied

 2   Aerostar’s motion to dismiss for failure to state a claim on January 25, 2018, noting that Plaintiff’s

 3   complaint was still fatally deficient and ordering her to file an amended complaint by February 5,

 4   2018. (Docket No. 26). In the Court’s order, Plaintiff was explicitly warned that failure to comply

 5   would result in sanctions, including dismissal for failure to prosecute under Rule 41(b). Id. Plaintiff

 6   did not respond.

 7           II. Federal Rule of Civil Procedure 41(b)1

 8           “If the plaintiff fails to prosecute . . . a defendant may move to dismiss the action or any

 9   claim against it.” FED. R. CIV. P. 41(b). District court judges inherently hold the authority to regulate

10   their dockets and First Circuit precedent permits district court judges to rely upon Rule 41(b) when

11   considering whether to involuntarily dismiss a case. See Garcia–Perez v. Hosp. Metropolitano, 597

12   F.3d 6, 7 (1st Cir. 2010); Link v. Wabash R.R. Co., 370 U.S. 626, 629–33 (1962). A district court

13   must balance its “venerable authority over case management with the larger concerns of justice,

14   including the strong presumption in favor of deciding cases on the merits.” Malot v. Dorado Beach

15   Cottages, 478 F.3d 40, 43 (1st Cir. 2007). Dismissal with prejudice is the most severe penalty. See

16   Benitez–Garcia v. Gonzalez–Vega, 468 F.3d 1, 4 (1st Cir. 2006). However, where the conduct is

17   egregious, dismissal with prejudice may be warranted. Id. (dismissing a case with prejudice

18   following repeated violation of court orders “is well within the arsenal of the trial judge”).

19           Egregious conduct is measured by “the severity of the violation, the legitimacy of the party’s

20   excuse, repetition of violations, the deliberateness vel non of the misconduct, mitigating excuses,

21   prejudice to the other side and to the operation of the court, and the adequacy of lesser sanctions,”

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23             Rule 41(b) presumes dismissal on the merits unless a court states otherwise. The Court thus clarifies that
     this dismissal is not an adjudication on the merits. See FED. R. CIV. P. 41(b).
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              Case 3:17-cv-01387-GAG Document 28 Filed 02/07/18 Page 4 of 7
     Civil No. 17-1387 (GAG)


 1   as well as any other relevant factors. Robson v. Hallenbeck, 81 F.3d 1, 2–3 (1st Cir. 1996). When

 2   conducting its analysis, “it is proper [for the Court] in reviewing for ‘extreme’ misconduct to

 3   consider all of the aggravating circumstances together.” Enlace Mercantil Internacional, Inc. v.

 4   Senior Indus., Inc., 848 F.2d 315, 317 (1st Cir. 1988) (citation omitted).

 5          A. Severity of the Violation

 6          Plaintiff’s violations were severe. The last time she filed anything was June 27, 2017.

 7   (Docket No. 14). As of today, 225 days have passed without any action from Plaintiff. While this is

 8   not multiple years, it is not the only factor the Court considers. Plaintiff has also ignored four Court

 9   orders concerning her response to various motions that Aerostar filed, including a motion to dismiss

10   for lack of prosecution. (Docket Nos. 18; 21; 24; 26). The Court finds this “extremely protracted

11   inaction” violates Rule 41(b) and a district court’s inherent power to regulate its docket. Cosme

12   Nieves v. Deshler, 826 F.2d 1, 2 (1st Cir. 1987). The Court warned Plaintiff on multiple occasions

13   to respond to Defendant’s motions and Plaintiff has not complied. Plaintiff’s continuous disregard

14   for this case and failure to comply with the Court’s orders constitute severe indifference to the

15   Court’s authority. See Estate of Solis-Rivera v. United States, 993 F.2d 1, 3 (1st Cir. 1993) (finding

16   egregious conduct after Plaintiff failed to respond just twice).

17          B. Legitimacy of Excuses, Mitigation of Excuses, and Prejudice to the Other Side

18          There is no indication that Plaintiff did not receive the Court’s orders, yet Plaintiff has offered

19   no excuses for her utter inaction. While it is important that “the plaintiff is given an opportunity to

20   explain [her noncompliance] or argue for a lesser penalty,” Benitez-Garcia v. Gonzalez-Vega, 468

21   F.3d 1, 7 (1st Cir. 2006) (quoting Robson, 81 F.3d at 3), Plaintiff here was given four opportunities

22   to explain. She has simply elected not to do so. The mere fact that Plaintiff has consistently ignored

23   the Court’s deadlines is sufficient to cause prejudice to the other side. See Robson, 81 F.3d at 4
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              Case 3:17-cv-01387-GAG Document 28 Filed 02/07/18 Page 5 of 7
     Civil No. 17-1387 (GAG)


 1   (“Repeated disobedience of a scheduling order is inherently prejudicial, because disruption of the

 2   court's schedule and the preparation of other parties nearly always results.”).

 3          C. Repetition of Violations and Deliberate Misconduct

 4          The Court has, on four separate occasions, ordered Plaintiff to comply with deadlines;

 5   Plaintiff has, on four separate occasions, failed to heed the Court’s orders. Without an explanation

 6   to the contrary, it is unclear whether Plaintiff’s misconduct was deliberate or not.

 7          D. Adequacy of Lesser Sanctions

 8          Lesser sanctions would not be adequate. While true that the Court could sanction counsel in

 9   several ways, including a warning, formal reprimand, a fine, imposition of costs or fees, temporary

10   suspension, and dismissal, Plaintiff has already been warned multiple times. Following the second

11   motion to deem Aerostar’s motion to dismiss unopposed, Plaintiff was explicitly informed that

12   failure to respond would result in the case being submitted. (Docket No. 21). In the Court’s fourth

13   order to respond, Plaintiff was explicitly warned that failure to respond would result sanctions,

14   including dismissal for failure to prosecute. (Docket No. 26). These warnings did not elicit a

15   response from Plaintiff. There is nothing to indicate that fining counsel or imposing costs and fees

16   would prove a more effective catalyst.

17          III. Rule 12(b)(6) Standard

18          Rule 12(b)(6) provides that a defendant may move to dismiss an action for failure to state a

19   claim upon which relief can be granted. FED. R. CIV. P. 12(b)(6). To survive a Rule 12(b)(6) motion,

20   a complaint must contain sufficient factual matter “to state a claim to relief that is plausible on its

21   face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). This requires determining whether

22   the complaint alleges enough facts to “raise a right to relief above the speculative level.” Id. at 555.

23   The court accepts all well-pleaded facts and draws all reasonable inferences in plaintiff’s favor.
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                 Case 3:17-cv-01387-GAG Document 28 Filed 02/07/18 Page 6 of 7
     Civil No. 17-1387 (GAG)


 1   Parker v. Hurley, 514 F.3d 87, 90 (1st Cir. 2008). However, “the tenet that a court must accept as

 2   true all of the allegations contained in a complaint is inapplicable to legal conclusions.” Ashcroft v.

 3   Iqbal, 556 U.S. 662, 678 (2009). “Threadbare recitals of the elements of a cause of action, supported

 4   by mere conclusory statements, do not suffice.” Id. (citing Twombly, 550 U.S. at 555).2

 5           With respect to claims based upon premises liability, the Puerto Rico Supreme Court has

 6   concluded that “the owner or operator of a commercial establishment has a duty to exercise

 7   reasonable care to maintain those areas that are accessible to the public, so as to avoid injury to its

 8   patrons.” Cline v. Puerto Rico Ports Auth., 620 F. Supp. 2d 233, 237 (D.P.R. 2008). To prove that a

 9   business owner breached that duty, a plaintiff must show that the defendant had actual or

10   constructive knowledge of a hazardous or dangerous condition on his premises that more likely than

11   not caused the damages to the plaintiff. Vázquez-Filippetti v. Banco Popular de Puerto Rico, 504

12   F.3d 43, 50 (1st Cir. 2007); Cotto v. C.M. Ins. Co., 416 P.R. Offic. Trans. 786, 793-94, 116 D.P.R.

13   64 (1985). “[T]o establish constructive knowledge, a plaintiff must prove either the existence of the

14   dangerous condition for an unreasonable or excessive length of time or, in the absence of evidence

15   regarding time, the owner's insufficient prevention policy or failure to implement the policy.” Carlo-

16   Blanco v. Inmobiliaria Comercial, Inc., No. CIV. 12-1978 PAD, 2014 WL 4805101, at *3 (D.P.R.

17   Sept. 26, 2014). Plaintiff here has failed entirely to allege facts that show “either the existence of the

18   dangerous condition for an unreasonable or excessive length of time” or “the owner's insufficient

19   prevention policy or failure to implement the policy.” Id. (emphasis added).

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                Both of Plaintiff’s complaints inexplicably list the Federal Torts Claim Act (“FTCA”) in the initial
22   caption. (Docket Nos. 1; 14). The FTCA is only applicable where the defendant is the United States. Plaintiff has
     explicitly averred that Aerostar is a private entity. (Docket Nos. 1 ¶ 2; 14 ¶ 2). Because Plaintiff filed her
23   complaint under diversity jurisdiction, the Court assumes, for the purposes of this discussion, that Plaintiff brings
     her tort claim under local law.
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               Case 3:17-cv-01387-GAG Document 28 Filed 02/07/18 Page 7 of 7
     Civil No. 17-1387 (GAG)


 1           Even taking all of Plaintiff’s well-pleaded facts as true, her complaint is fatally deficient. She

 2   has not, even with multiple chances to amend her complaint, managed to allege facts sufficient to

 3   state a plausible claim for relief.

 4           IV. Conclusion

 5           The Rule 41(b) aggravating factors, considered together, militate heavily in favor of

 6   dismissal. Practice before a federal court is dynamic. Often times, cases are complex and move

 7   quickly. The District of Puerto Rico has one of the most congested criminal and civil dockets in the

 8   nation. The Court simply cannot sit back and wait for counsel to proceed at their convenience.

 9   Furthermore, Plaintiff has failed to state a claim under Rule 12(b)(6). For the aforementioned

10   reasons, the Court GRANTS Defendant’s motion at Docket No. 23 and DISMISSES this case with

11   prejudice pursuant to Rules 12(b)(6) and 41(b).

12           SO ORDERED.

13           In San Juan, Puerto Rico, on this 7th day of February, 2018.

14                                                                         s/ Gustavo A. Gelpí
                                                                         GUSTAVO A. GELPI
15                                                                     United States District Judge

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